Case 2:10-md-02179-CJB-DPC Document 4256-1 Filed 10/10/11 Page1of1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: OU Spill by the OIL RIG ) MDL. NO. 2179
“DEEPWATER HORIZON’ in _ )
the GULF OF MEXICO, on )
APRIL 20, 2010 )
j SECTION: J
This Document relates to: )
) JUDGE BARBIER
2:10-CA-10-8888 ) MAG, JUDGE SHUSHAN
ORDER

Considering the Motion of the Claimants/Plaintiffs to Dismiss with Prejudice Pursuant to Rude

41(a)(2):

IT IS HEREBY ORDERED that all claims of the following Claimants/Plaintiffs are dismissed

with Prejudice.

Document No.

I.

2.

52682

$1365

73627

48496

67567

48288

Cause No.

CA-10-8888
CA-10-8888
CA-10-8888
CA-10-8888
CA-10-8888

CA- 10-8888

New Orleans, Louisiana, this the _ day of

Plaintifi/Claimant

Thomas & Donna Graeser
Gregory Timothy Jones
Benjamin Edward Pellegrini
Jeffrey & Julie St. Pierre
Allen & Sandra Gailor

Bruce & Eva Creel

» 201).

UNITED STATES DISTRICT COURT JUDGE
